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STRICT COURT
D. lCT OF LOU|S|ANA

N D|RSET|
WESTER C|VED

FEB 0 5 2007

STATE OF LOU|S§ANA ROBERT H_ @U_L, elias JUD|C|AL DlSTRlCT COURT
PARISH oF weast BY DEPL"Y '

CARCL‘¢N R. JOHNSON

5 : 07cv0209
"E“SUS JuDGE sTAGG
M\NbEN MEDFOAL cENTER MAG. JUDGE HORNSBY
DR M|CHEAL AC?-|ANDLER,
F-’RFVATE PHYS!CIAN DBA
MINDEN MED!GAL GEN`!EP
-SSUIT FOF? MONE¥

THE F`ETPTIONER, CAROLYN R. JC‘H NSON, HEREAFTEF{ PET|TIONER A RES|DENT
DOM¥CLIEZD |N THE PARISH OF' CLA|BOF¢NE.' STATE OF LC)UIS|ANA W|TH REPECT
REPF’EESENTS:

DEFENDANT, MlNDEN .MED§CAL CE.NTER AND DR. Ml-CHAEL CHANDLER, PRIVA`|E
PHYS§C{AN DUR|NG BUSHMESS AT MINDEN MED§CAL CENTER AUTHOR|ZEU `TC HE-
PRESENT AND S:."-'RVE IN WEBSTER PARISH, LOU!S!ANA iS JUSTLY AND TF%UL'Y lN-
DE£ETED.= UP~.iTC F’ET§T!ONEF€ IN THE FUE.L,;MGNEY OF ONE M|LL|ON ($1,000,000.00)
DOLLARS PLUS ATTORNEY'S FEES AND ALL COSTS OF TH|S PROCEEDSNG.

DUE TO NEGLECT, THE PAT|ENT UNT|MELY DEATH OCCURRED AS F{EULTS OF THE
PHYS|CIAN, DR. CHANDLER AND THE NURSE’S A|D STAFF WHO FA|LED TO TURN
THE lNACT|VE PAT|ENT TO PREVENT THE CUT|LCE SORES TO COME |N THE HEE|.S

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_. . . .._ . n 1 ¢c:¢vl. PAT|ENT BECA'M' lNFEC-`A` l'E-fD WITP BED SC|`E‘ » iN HEELS, FEEI‘
S|DES. IN FACT THEY C,AME Al_ 431"-_~7'.~';';'_; §§ 31 11 , 1 .»,_;111_~__ 1_,1'1`,1_111_-_1 , -1.J111 _.111,_1.1. 1111_11
PHY'S|¢.`;|A'N FA!»* .F.P : "'{.` ~' ."N s"L `!“` :AtN THE SOF¢ES UNT:L THEY HAD Go'r'rEN lNTO A
BAD STAGE. AlDES COULDN" JT ACT|V/'. !`E PA T|EN!` BECAUSE THEY WEF!E U;"~:`l`~L-' P.-
STAFFED. |N FACT THERE WAS ONF:"1‘ -‘tl""` )'."i `Il !!; COME 31.‘&`!' §`~LOOR OF ABOUT
25~ 30 PAT|ENTS WHO NEEDED CARE EVERY 1WO (.?) HC! "R" 1 z 13 }’. l:!.‘i".-SUL`FS O'F
THE NEGLECT PAT£EN'," W.*.S Fle L'}N A FEED|NG `I`UBE. THEN D¢AGNOSE~":-.-'.'¥ W."m
DIABE`§'ES, HlGi-| BLCOO PRESSURE, POOR ClF\‘CULAT!ON, HEART PROBLEM. NONE
OF THESE D|AGNOSIS WAS ACQU|RED TO TH|S PAT!ENT UNT|L HOSP|TAL|ZED
FOR AN UPSET STOMACH VlRUS. THERE WAS ALSO A UN|NARY TRACT l!‘iFE~CUC°N
WH!CH INJECTIONS WERE NFCC!`S"\#R\ ‘ .".`.‘-\" H DA` { 30 HAT§F Y lHA`L PAT|ENT
BEC)‘.!`\¢EE E'!SZNHF`:EEN'F i\'OT KNOWING WHERE SHE WAS. SHE WAS A BR|GHT,
lNTELLlGENT LADY BEFORE GO|NG TO MINDEN MED!CAL CE.NT'.".R M\JD '\CQU|.!`~A.".

ALL OF THESE D|AGNOSIS.

PE`[|TIONER WAS PLACED |N STATUS OF MENTAL A!\!GU|SH. DEPRESS|ON BECAU-
SE OF DEC|S|ONS OF PAT|ENTS MED|CAL OPT|ONS. THE MED{CAL STAFF |NCLUD-
|NG T}'E" :0: €,`iAl WOPKL-`PJ ¢-‘¢4@1"44"'~|-" THE " ssi ¢ 1 ¢ ¢Gi"vE'R U `TO MAK|NG DEC|S-
lONS NOT TRULY FOR THE GOOD OF THE PAT|ENT. PAT!ENT WAS PLACED IN
FAC|L|T|ES NOT GOOD BECAUSE SOC|AL WORKER WAS LOOK|NG AT THE MED|~
CAL lNSURANCE LENGHT OF PAV STATUS FOR PAT|ENT TO REMAIN THERE. SOC-
|AL WORKER WAS S|MPLY PUTT|NG PAT|ENT OUT BECAUSE OF NON-PAYMENT
_FOR BE|NG HOSP|TAL|ZED BECAUSE DAYS WAS USED UP U;\|DER ME§|CARE/

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MED|GA|D STATUS. DR. M!CHAEL CHANDLER ORDERED THE D|SM|SSAL (5F THE
PA'HENT BECAUSE HE WAS ANGR¥ WlTH WHAT | HAD EXPRESSED TO A PHYS|-
CIAN WHO WAS NOT A MED|CAL PHYS|C|AN AND l INFORMED THE PHYS|CA|N
!H.AT `l`rn::'Y WERENOT SEE|NG ABCUT THE lNFEC`HON WH|CH WAS MORE |M-
PORTANT THEN HIS MED\CAT|ON ARECEPT. DR. CHANDLEF{ DiDNOT APPREC|ATE
MY SNOU!REES CH.ALLENGING THEiR TECHiCiUES 36 HE.` DED .\.'.Y .\.‘.OTHEP. WRDNG
TO GET BAC-K AT ME A:'.`i .A BLACK PERSGN AND HE lS VEFW F‘REJUD|CE PERSON..
HE FA|LED `FO ACKNO‘WLEDGE THE HYPROCRATIC OATH THAT PYHS|C|ANS RECE~
VE WHEN THEY AR’ :, f‘*"‘”` ""r"'~ "*" """~1'; "i‘i;'- EBE A PH‘!S!G§AN FROM THE STATE OF
LCU|S!ANA L|CENS!N£-¥ H"~“‘Pa*..) HE SHGULD M$‘ "‘“' """!§EEN SANUST|ONED FOR HIS
ACTSONS WHY_-`:'N l REPORTED HlM THE STAT' .)F LC 'Z|ANA LlCENS|NG BOARD
D|".jt?iPL`;§-?|NG DEPAF!TMEN`?". `

PETIT!ONE.H`S PARENT WAS SENT TO SEVERAL HOSP|TALS, REHAB NURSE
CARE FAC!L%T\ES AND NUR|NG HOMES. F¥NAL ANA‘i'L"#"S|S PAT|ENT WAS D|AG-
NOSED WiTH GANG=GP\EEN il‘-! FEET AND LEGS TO FiF¢MUR. AMP'U'TATEON WAS
D\AGNUS.'-:'D. PET¥T|ONER'S PARENT W.-‘-.S AMPUTATED ()N NOVEMBER, 2004.
PAT\E'NT "\lVAS TERMINALL¥ lLL W|TH MEDICATION OF MARF|NE DA|LV FOR PA\N.
PAT|ENT WAS ADM|‘ITED TO L|NCOLN GENERAL HOSP|TAL, RUSTON, LOU|SIANA
FOR FOUR MONTHS TO EXPIRE JANUARY 29, 2005. THE DEATH CERT|F|CATE
WASNOT CORRECT. THE PAT|ENT D|ED OF THE FEED!N TUBE PROBLEM CAUSED
BY THE NUR|NG STAFF NOT FLUSH|NG THE TUBE OUT CAUS|NG PAT|ENT T0
CHOKE FROM MlLK COM\NG BACK WH|CH WAS CLOGGED UP.

ea§élsnvl¥!»amzeww)mluMtDWNEmmmmngennmmppagelD #; 15
PRlvATE PHYslclAN DuRlNG BuslNEss AT McNDEN MEr_)chL GENTER m THE Fuu.
AMouNT AND TRuE sum oF 0NE MlLuoN ($1, 000, 000. 06) DoLLARS ToGEm§R

wm-l INTERE$:§ FnoM DECEMBER 2003 TmouGH MARcH, 2004 U'NnL PAlo, `
REAsoNABLE ifroRNEY's FEES AND ALL cos'rs oF THESE PRooEEDlNGs:

'_:".‘.._¢

RESPECTFULLY SUBM|TTED:

 

ATTORNEY F THE PE`HT|ONER
JOHNSGN AND ASSOC|ATES

P. O. BOX 744

HAYNESV|LLE, LOU¢S|ANA 71038

. »~Hi E‘r”. (/\/O &HUCL L»nm€m% Sfb\d>
MlNDEN MED|CAL CENTER,
MINDEN, LA. MEDICAL RECORDS

UNCOLN GENERAL HCSPlTAL.
RUSTON, LA. MEDICAL RECORDS.

E. A. conAY (Lsu MEchAL cENTc-".-'a_»

____`__________‘

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MONROE, LA. MED|CAL RECORDS

CORNERSTONE REHAB NUR|NG HOME.
WEST MCNROE, LA. _ MED|CAL RECORDS

BERNICE REHAB HOSPlTAL M|NDEN, LA.
MEDICAL RECORDS

MEADowlew REHAB NuRslNG cEMER,
M\NDEN, LA MEchAL nEcoRos

l~\EALTHsouTH REHAB NunslNG cENTER
HoMER, LA MEochL REoonos

SOUT|'ERN ACRES NURS|NG HOME
MONROE, LA. MED|CAL RECORDS

munz warsz HoME, nusToN, LA.
MED¢»:-¢\~.a£c¢:ms~

MAD':A N.UF.SING HOME, ARCAD!A , LA.

I“=I_h‘ Si SIA‘¢..IAF-.--l
M-.;Lm!.:.a.!.. !'-`s'_~\.-\J!-¢.L»:-

Ho'Ms.=.. e.e§Mor-<L»=_ .»~.'-:Lsps'r.n_e_, wages LA:
MEDUCAL HECOF¢DS

